     Case 1:09-cr-00018-PB   Document 21   Filed 02/24/09   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-18-PB

Paul Hewitt, et al.



                               O R D E R

     Defendant, Joseph Grasso, through counsel, has moved to

continue the trial scheduled for March 3, 2009, so that he can

enroll in a three-month drug treatment program at the Strafford

County Jail prior to trial.     The government and co-defendants do

not object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from March 3, 2009 to July 7, 2009.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:09-cr-00018-PB   Document 21   Filed 02/24/09   Page 2 of 2




      The February 25, 2009 final pretrial conference is continued

to June 23, 2009 at 3:30 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

February 23, 2009

cc:   Kevin Sharkey, Esq.
      Bjorn Lange, Esq.
      Stanley Norkunas, Esq.
      Mark Zuckerman, AUSA
      United States Probation
      United States Marshal




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